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           Exhibit O
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Child-Care Inspection Form
Southwest Key Programs, Inc - Casa Sunzal
#1681306

Arrival Date and Time   10/10/2018 01:00 PM
Departure Date and Time 10/10/2018 02:25 PM

Part I: OPERATION INFORMATION
Location: 419 EMANCIPATION AVE, HOUSTON, TX 77003                  Phone: (713) 962-3427
Permit Type:
Type: Child Care Services Only                                     Capacity:
Status: Applicant
Director/Administrator: Marisela Saldana                           Designee/Registrant: Juan Sanchez
Director/Administrator:
Type of Inspection: Unannounced Application



Licensing Staff: DOMANIQUE VITAL                                   Phone:
Address: 1425 E 40TH ST , HOUSTON, TX 77022


Licensing Supervisor: ALICIA COURTNEY                              Phone: (713) 696-3623
Address: 1425 E 40TH ST , HOUSTON, TX 77022




Part II: NOTIFICATION
   Controlling Persons have been verified.
   Background checks have been verified.
   Children in Care: 0
All or part of the following laws, administrative rules or Minimum Standard rules have been inspected:

  Standard x Standard                               L.Medication
  B.Definitions and Services                        M.Discipline and Punishment
  C. Organization and Administration                N.Emergency Behavior Intervention
  D.Reports and Record Keeping                      O.Safety and Emergency Practices
  E.Personnel                                       P.Physical Site
  F.Training and Professional Development           Q.Recreation Activities
  G.Child/Caregiver Ratios                          R.Transportation
  H.Children's Rights                               S.Emergency Care
  I.Admission, Service Planning,Discharge           T. Assessment Services - Additional Requirements
  J.Child Care                                      U. Therapeutic Camp Services - Additional Requirements
  K.Providing Children and Adult Care               TAC 745-Drug Testing




Others:
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Child-Care Inspection Form
Southwest Key Programs, Inc - Casa Sunzal
#1681306
Others:
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Child-Care Inspection Form
Southwest Key Programs, Inc - Casa Sunzal
#1681306




Failure to maintain compliance on an ongoing basis may result in enforcement actions

In an effort to improve our inspection process, we are soliciting your feedback about this licensing inspection at your operation.
Please provide responses to the questions posed in the online survey. The survey will take approximately 5-10 minutes to
complete. Go to www.CCLinspectionfeedback.org. Your answers and comments are greatly appreciated.

ACKNOWLEDGEMENT OF RECEIPT
An inspection was conducted at my operation on the date below. Deficiencies and, where applicable, technical assistance were
discussed with me during the exit conference. Failure to comply within the specified time limit or repetition of deficiencies may
result in remedial action without further opportunity to correct the deficiencies. I understand that if the results of this inspection
were not given to me on this date, they will be sent through a supplemental letter within ten days of this inspection.




                                                      10/10/2018                                                         10/10/2018


Signature (Person Signing for Operation)               Date         Signature (Licensing Staff)                             Date
Signed By:    Administrator
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Child-Care Inspection Form
Southwest Key Programs, Inc - Casa Sunzal
#1681306

Part III: INSPECTION INFORMATION

Records Evaluated:
Number of Children's Records:                                                 Number of Staff Records:
Number of Children Enrolled:                                                  Number of Staff Employed:

Number of Maternity Home Residents:
Number of Homes:
Number of Birth Parents:
Number of Serious Incidents:


Inspection Dates:
Fire Inspection:                                                              Gas Pipe Pressure Test:
Health Inspection:                                                            Last LP Gas Inspection :
Liability Insurance (exp.date)




Findings for this inspection are listed below:

      Standard/Rule
                                                     Specifics                            Findings        Comply By TA Given
       Description
 748.3101(1) Fire Inspection-
Must have fire inspection before Based on the information we have recieved from
                                                                                          Deficiency       11/10/2018         N
      initial permit issued      the city of Houston, the fire permit is not valid.
   (Weight: Medium High)




Notification Date: 10/10/2018
If you disagree with the actions or decisions of the licensing staff, you may request an administrative review within 15 days of the
receipt of this inspection report by writing the Licensing Supervisor.
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Child-Care Inspection Form
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#1681306

Providers may comment on the findings of the inspection in the space below.
